           Case 1:21-cr-00134-CJN Document 60 Filed 03/28/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,
                                                           Case No. 21 CR 134 (CJN)
        v.
                                                           Honorable Carl J. Nichols
 MARK SAHADY,

        Defendant.


                  JOINT MOTION FOR AMENDED PRETRIAL SCHEDULE
       The United States of America, by and through its attorney, Matthew M. Graves, the United

States Attorney for the District of Columbia, and the defendant, Mark Sahady, by and through his

attorney, Blake Weiner, hereby respectfully submit a joint proposed amended pretrial schedule

pursuant to this Court’s oral request at the March 27, 2023 status hearing. Consistent with the

continued trial date of May 1, 2023, the parties agree and request that the pretrial schedule be set

as follows:


             Responses to motions in limine due by April 3, 2023 (no change)

             Replies to motions in limine due by April 10, 2023 (no change)

             Notice of 404(b) evidence by the government due by April 21, 2023 (extended two

              weeks)

             Grand jury, Brady, and Jencks Act disclosures by the government due by April 21,

              2023 (extended two weeks)

             Joint pretrial statement due by April 24, 2023 (extended two weeks)

             Pretrial Conference on or after April 27, 2023 (extended two weeks)
       Case 1:21-cr-00134-CJN Document 60 Filed 03/28/23 Page 2 of 2




                               Respectfully submitted,

      MARK SAHADY                                 MATTHEW M. GRAVES
      Defendant                                   United States Attorney

By:   /s/ Blake Weiner                    By:     /s/ Kaitlin Klamann
      BLAKE WEINER                                KAITLIN KLAMANN
      Counsel for Mark Sahady                     NATHANIEL WHITESEL
      Blake Weiner Law, PLLC                      Assistant United States Attorneys
      1806 Summit Avenue, Suite 300               601 D Street N.W.
      Richmond, VA 23230                          Washington, D.C. 20530
